    Case 2:15-cv-00079-LGW-BWC Document 252 Filed 04/29/19 Page 1 of 3



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA


STATE OF GEORGIA, et al.,

              Plaintiffs,

         v.                                Case No. 2:15-CV-0079-LGW-BWC

REGINA A. McCARTHY, in her official
capacity as Administrator of the United
States Environmental Protection Agency;
and the United States Environmental
Protection Agency, et al.,

              Defendants.


                   UNOPPOSED MOTION TO WITHDRAW


         Pursuant to Fed. R. Civ. P. 7(b)(1) and 41(a)(2), Plaintiff State of

Wisconsin, by Wisconsin Attorney General Joshua L. Kaul and Assistant

Attorney General Karla Z. Keckhaver, hereby moves to withdraw as a

Plaintiff in this matter. This voluntary withdrawal is appropriate because

there is no direct claim made against Wisconsin in this matter and

Wisconsin’s withdrawal will not materially prejudice the rights of the other

parties.

         Undersigned counsel has contacted all counsel via email, and no party

has opposed this motion. Wisconsin requests that all parties bear their own

costs.
    Case 2:15-cv-00079-LGW-BWC Document 252 Filed 04/29/19 Page 2 of 3



     Dated this 29th day of April, 2019.

                                   Respectfully submitted,

                                   JOSHUA L. KAUL
                                   Attorney General of Wisconsin

                                   Electronically signed by:

                                   s/ Karla Z. Keckhaver
                                   KARLA Z. KECKHAVER
                                   Assistant Attorney General
                                   State Bar #1028242
                                   (admitted pro hac vice)

                                   Attorneys for Plaintiff, State of Wisconsin

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                                     2
    Case 2:15-cv-00079-LGW-BWC Document 252 Filed 04/29/19 Page 3 of 3



                      CERTIFICATE OF SERVICE

      I certify that on April 29, 2019, I electronically filed the foregoing
Motion to Withdraw with the clerk of court using the CM/ECF system, which
will accomplish electronic notice and service for all participants who are
registered CM/ECF users.

     Dated this 29th day of April, 2019.



                                   s/ Karla Z. Keckhaver
                                   KARLA Z. KECKHAVER




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